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               8                          IN THE UNITED STATES DISTRICT COURT

               9                            EASTERN DISTRICT OF CALIFORNIA

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              11    THOMAS N. SMITH,                            No.1:05-cv-01187-OWW-NEW (TAG)

              12            Plaintiff,                          (Related to Case No: 1:05-cv-
                                                                 01024-OWW-SMS (closed))
              13
                    vs.                                          ORDER GRANTING DEFENDANT
              14                                                 DARRIN SIMMONS’ MOTION FOR
                                                                 JUDGMENT ON THE PLEADINGS
              15    DARRIN SIMMONS, individually and
                    d.b.a. CLEAN AIR PRODUCTS, and
              16    DOES 1 through 50, inclusive,

              17            Defendants.
              18

              19           On September 17, 2007, Defendant DARRIN SIMMONS’ Motion for Judgment on
              20   the Pleadings came duly before the Court, the Honorable Oliver W. Wanger, United States
              21   District Judge Presiding. Appearing in support of the motion was Defendant’s attorney,
              22   Leonard C. Herr, Esq. Appearing in opposition to the motion on behalf of Plaintiff was
              23   David M. Gilmore, Esq.
              24   ///
              25   ///
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              28   ///




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                          ORDER GRANTING DEFENDANT DARRIN SIMMONS’ MOTION FOR JUDGMENT ON THE PLEADINGS
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               1           After considering the pleadings in the case and the argument of counsel, for the

               2   reasons stated on the record and contained in the Court’s written order filed September 25,

               3   2007 (Doc. 72):

               4           IT IS HEREBY ORDERED that Defendant’s Motion for Judgment on the Pleadings

               5   is GRANTED.

               6           IT IS FURTHER ORDERED that the request of Plaintiff’s counsel, and upon good

               7   cause being shown, Plaintiff is granted leave to file a Third Amended Complaint, within 20

               8   days following the date of service of the Court’s Memorandum Decision and Order (Doc.

               9   72).

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              12   DATED: ___October 5, 2007       /s/ OLIVER W. WANGER_____________
                                    ________________________________________
              13                                   UNITED STATES DISTRICT JUDGE

              14
                   Approved as to form:
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              16
                   Dated:__________
              17         _________________________________________
                                                  David M. Gilmore, Esq.
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                          ORDER GRANTING DEFENDANT DARRIN SIMMONS’ MOTION FOR JUDGMENT ON THE PLEADINGS
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                               ORDER GRANTING DEFENDANT DARRIN SIMMONS’ MOTION FOR JUDGMENT ON THE PLEADINGS
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